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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, 22-cr-120 {JGK)

ORDER

 

- against -

EDWARD D. MULLINS,

Defendant.

 

JOHN G. KOELTL, District Judge:

The Court has received a letter in connection with
sentencing. The letter is filed under seal because it contains
personal identifying information.

SO ORDERED.
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Dated: New York, New York “ Lf Lge
May 22, 2023 £ pe :

sonnets. Koeltl
united States District Judge

 

 

 
